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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                            Case No. 11-40046-02-JWL


Tiffany D. Woosley,

                    Defendant.

                                 MEMORANDUM & ORDER

      This matter is before the court on Ms. Woosley’s pro se motion for reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) in which Ms. Woosley asks the court to reduce her sentence

based on Amendment 782 to the United States Sentencing Guidelines. Ms. Woosley also seeks

appointment of counsel to assist her in “applying” her sentence to the new guidelines. The

motion is dismissed to the extent Ms. Woosley seeks a sentence reduction and is denied as moot

to the extent she requests appointment of counsel.

      The court lacks the authority to revise Ms. Woosley’s sentence based on Amendment

782. Federal courts, in general, lack jurisdiction to reduce a term of imprisonment once it has

been imposed. Freeman v. United States, ––– U.S. ––––, 131 S. Ct. 2685, 2690 (2011). “A

district court does not have inherent authority to modify a previously imposed sentence; it may

do so only pursuant to statutory authorization.” United States v. Smartt, 129 F.3d 539, 540 (10th

Cir. 1997). Under limited circumstances, modification of a sentence is possible under 18 U.S.C.

§ 3582(c).   That provision states that “a defendant who has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the
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Sentencing Commission” may be eligible for a reduction, “if such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2).

Ms. Woosley’s sentence in this case was not “based on a sentencing range” but, instead, was

based on a mandatory statutory minimum under 21 U.S.C. § § 841(b)(1)(A). The court, then,

has no jurisdiction to reduce Ms. Woosley's sentence. Because Ms. Woosley remains subject to

the mandatory minimum sentence of 10 years regardless of the application of Amendment 782,

a reduction under § 3582(c)(2) is not authorized and Amendment 782 affords no relief to Ms.

Woosley. See United States v. Woods, ___ Fed. Appx. ___, 2015 WL 250647, at *1-2 (10th Cir.

Jan. 21, 2015) (if a defendant is sentenced pursuant to a statutory mandatory minimum sentence

provision, she is ineligible for a sentence reduction under § 3582(c)(2)).1



        IT IS THEREFORE ORDERED BY THE COURT THAT Ms. Woosley’s motion to

reduce sentence and to appoint counsel (doc. 496) is dismissed in part and denied as moot in

part.



        IT IS SO ORDERED.



        Dated this 16th day of April, 2015, at Kansas City, Kansas.




1
 Ms. Woosley asserts in her motion that she was sentenced to 180 months imprisonment. While
her total sentence is 180 months, the sentence she received in this case was the mandatory
minimum sentence of 120 months. She received a consecutive 60-month sentence in a separate
case based on a violation of 18 U.S.C. § 922(g)(1).
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                                  s/ John W. Lungstrum
                                  John W. Lungstrum
                                  United States District Judge




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